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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Lucky Penny Collectables LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed           The Lucky Penny, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4971 Royal Point Avenue
                                  Kissimmee, FL 34746
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Osceola                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.ilovecharacters.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    The Lucky Penny Collectables LLC                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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 Fill in this information to identify the case:
 Debtor name The Lucky Penny Collectables LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alternative Funding                                 Business Loan                                          $34,441.84                  Unknown                   Unknown
 2941 NW 62nd
 Street
 Ste. 201
 Fort Lauderdale, FL
 33309
 Amazon Lending                                      Loan                                                                                                        $16,588.44
 410 Terry Avenue
 Seattle, WA 98109
 Chase                                               Line of Credit                                                                                              $30,000.00
 PO Box 44959
 Indianapolis, IN
 46244
 Chase Ink                                           Credit Card                                                                                               $101,896.00
 Card Member
 Services
 P.O. Box 1423
 Charlotte, NC 28201
 Everest Business                                    Business Loan                                                                                               $26,520.00
 Funding
 102 W. 38th Street
 6th Floor
 New York, NY 10018
 Florida Department                                  Taxes                                                                                                               $0.00
 of Revenue
 Bankruptcy Unit
 Post Office Box
 6668
 Tallahassee, FL
 32314-6668
 Foundation Group                                    Line Credit                                                                                                 $65,000.00
 LLC
 11501 Sunset Hills
 Rd
 Reston, VA 20190




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 Debtor    The Lucky Penny Collectables LLC                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Legend Funding                                      Business Loan                                                                                               $18,981.00
 800 Brickell Avenue
 Ste. 902
 Miami, FL 33131
 Lending Point                                       Business Loan                                                                                               $29,312.72
 1201 Robert Blvd
 Bldg 200
 Kennesaw, GA
 30144
 Marcus Line of                                      Credit Card                                                                                                 $23,867.11
 Credit
 P.O. Box 45400
 Salt Lake City, UT
 84145
 My Rapid Finance                                    Line of Credit                                                                                              $55,000.00
 4500 East West
 Highway
 6th Floor
 Bethesda, MD 20814
 Orange County Tax                                   Taxes                                                                                                               $0.00
 Collector
 PO Box 779003
 Orlando, FL 32877
 Paypal Business                                     Business Loan                                                                                               $39,669.04
 Loan
 3505 Silverside
 Road
 Suite 200
 Wilmington, DE
 19810
 Paypal Working                                      Working Captial                                                                                               $9,526.90
 Capital
 P.O. Box 45950
 Omaha, NE 68145
 SellersFunding                                      Business Loan                                                                                               $41,439.56
 Corp.
 1290 Weston Rd
 Suite 306
 Fort Lauderdale, FL
 33326




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The Lucky Penny Collectables LLC           Gabriele Frontini                      SellersFunding Corp.
4971 Royal Point Avenue                    4971 Royal Point Avenue                1290 Weston Rd
Kissimmee, FL 34746                        Kissimmee, FL 34746                    Suite 306
                                                                                  Fort Lauderdale, FL 33326



Daniel A. Velasquez                        Legend Funding
Latham Luna Eden & Beaudine LLP            800 Brickell Avenue
201 S. Orange Avenue                       Ste. 902
Suite 1400                                 Miami, FL 33131
Orlando, FL 32801

Alternative Funding                        Lending Point
2941 NW 62nd Street                        1201 Robert Blvd
Ste. 201                                   Bldg 200
Fort Lauderdale, FL 33309                  Kennesaw, GA 30144



Amazon Lending                             Lucrezia Albanese
410 Terry Avenue                           4971 Royal Point Avenue
Seattle, WA 98109                          Kissimmee, FL 34746




Chase                                      Marcus Line of Credit
PO Box 44959                               P.O. Box 45400
Indianapolis, IN 46244                     Salt Lake City, UT 84145




Chase Ink                                  My Rapid Finance
Card Member Services                       4500 East West Highway
P.O. Box 1423                              6th Floor
Charlotte, NC 28201                        Bethesda, MD 20814



Everest Business Funding                   Orange County Tax Collector
102 W. 38th Street                         PO Box 779003
6th Floor                                  Orlando, FL 32877
New York, NY 10018



Florida Department of Revenue              Paypal Business Loan
Bankruptcy Unit                            3505 Silverside Road
Post Office Box 6668                       Suite 200
Tallahassee, FL 32314-6668                 Wilmington, DE 19810



Foundation Group LLC                       Paypal Working Capital
11501 Sunset Hills Rd                      P.O. Box 45950
Reston, VA 20190                           Omaha, NE 68145
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